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Exhibit “B”
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uN

April 24, 2007

«Legal_ Vesting»
«Address_Line_i» «Address_Line_2»
«City», «Staten «Zip»

RE: Loan to Oak Mesa Investors, LLC/Fiesta Oak Valley (the “Loan"}

Dear Investor:

Compass Financial Partners LLC (“CFP”) is the replacement to USA Commercial Mortgage Company
(“USACM”) as the loan servicer for the above-referenced Loan to Oak Mesa Investors, LLC {the
“Borrower”, originated by USACM on or about June 15, 2004 in the principal amount of $20,500,000.

We are writing to advise you that CFP is exercising its right under Section 2(c)(ili) of the Loan Servicing
Agreement to acquire your beneficial interest in the Loan for the total unpaid principal amount plus all
accrued interest thereon, calculated through April 30, 2007, in the amount of $«Payoff» (the “Call Price”).
The Cail Price for your beneficial interest has been wired to Orange Coast Title Company (the “Escrow
Agent”). The amount of your Cail Price is set forth on the annexed schedule hereto.

In order to receive the Call Price for your beneficial interest, you must execute the enclosed Assignment
Agreement and return it to the Escrow Agent at the address set forth below (a pre-addressed envelope is
enclosed for your convenience). The Escrow Agent will send you the Call Price immediately upon
receiving your executed Assignment Agreement. The address for the Escrow Agent Is:

Attn: Pam Robinsen

Orange Coast Title Company
3536 Concours Dr. Ste 120
Ontario, CA 91764

If you have questions regarding the above, please call me at (702) 734-2400 or email
olson@compassloans net.

Sincerely,

Ld. bed.

Mark L. Olson
Director of Investor Relations

Enclosures

4730 SOUTH APACHE ROAD | OMAIN.702.734.2400

Suite 140

| Fax.702.734.0163

LAS VEGAS, NV 89147 WWW. COMPASSLOANS. NET
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WHEN RECORDED RETURN TO:

Weil, Gotshal & Manges LLP

c/o Peggy J. Jones, CLA Specialist
200 Crescent Court, Suite 300
Dallas, Texas 75201

ASSIGNMENT OF INTERESTS IN DEEDS OF TRUST AND NOTE

«Legal Vesting» ("Assignor"), for good and valuable consideration, receipt and sufficiency
of which is hereby acknowledged, does hereby assign and sell to COMPASS USA SPE LLC
("Assignee") all of Assignor's right, title and interest in and to the following:

Those certain Deeds of Trust, dated June 15, 2004, made by Oak Mesa Investors, LLC, a
California limited liability company, as trustor, in favor of the lenders described therein,
including Assignor, as beneficiaries, recorded in (A) San Bernardino County, California on
June 18, 2004, as Document No. 2004-0435051 and (B) Riverside County, Califomia on
June 17, 2004, as Document No. 2004-0467495, as may be amended, and all indebtedness
secured thereby, covering the real property more particularly described on Exhibit “A”
attached hereto and incorporated herein by this reference for all purposes,

which interests total $<Buyouts_UPB» and equals a «UPB_for_merge»% interest in and to the loan
evidenced by the above described documents.

DATED effective as of the day of April, 2007.
“Assignor”

«Legal_Vesting»»

By:
Name:
Title:

By:
Name:
Title:

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STATE OF )
: SS.
COUNTY OF )
On the day of April, 2007, before me, the undersigned, personally appeared

, personally known to me (or proved to me on the basis
of satisfactory evidence) to be the person whose name is subscribed to within the instrument and
acknowledged to me that he executed the same in his authorized capacity, and that by his
signature on the instrument the person, or the entity upon behalf of which the person acted,
executed the instrument.

WITNESS my hand and official seal.

Signature

Notary Public in and for said County and State

Printed Name: , Notary Public

FOR NOTARY SEAL OR STAMP
STATE OF )
: SS.
COUNTY OF )
On the day of April, 2007, before me, the undersigned, personally appeared

, personally known to me (or proved to me on the basis
of satisfactory evidence) to be the person whose name is subscribed to within the instrument and
acknowledged to me that he executed the same in his authorized capacity, and that by his
signature on the instrument the person, or the entity upon behalf of which the person acted,
executed the instrument.

WITNESS my hand and official seal.

Signature ~
Notary Public in and for said County and State
Printed Name: » Notary Public

FOR NOTARY SEAL OR STAMP

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EXHIBIT “A”

Description of Real Property

Land situated in the State of California, Counties of Riverside and San Bernardino, described as
follows:

Parcel A (Riverside County):

Parcel 9 of Parcel Map 31922, in the City of Calimesa, County of Riverside, State of California
as per map recorded in Book 209, Pages 31 through 38 inclusive of Parcel Maps, in the office of
the County Recorder of said county.

Parcel B (San Bernardino County):

Government Lots 1, 2, 3 and 4, Section 9, Township 2 South, Range 2 West, San Bernardino
Base and Meridian, according to the official plat of said land approved by the Surveyor
General’s Office.

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